Case 2:02-Cr-20165-BBD Document 593 Filed 08/09/05 Page 1 of 4 Page|D 803

IN THE UNITED STATES DISTR_ICT COURT

FoR THE WESTERN DISTRICT oF TENNESSEE F'LED lN OPEN COURT

TIME: ,2"'-2`3 .£"'\_ .____
UNITED sTATEs oF AMERICA

lN:TlALs:#_L
V.

CR NO. 02-20165-D
GEOFFREY L. FELDMAN,

Defendant.

ORDER DISMISS[NG COUNTS OF THE INDICTMENT
AS TO GEOFFR_EY L. FELDMAN

Pursuant to the plea agreement of the parties, the oral motion of the United States of
America, and for good cause shown, it is hereby ORDERED that all Counts of the lndictment,

except Count I that Was the subject of the plea agreement, are dismissed as to Defendant Geoffrey L.

Feldman.

IT ls so 0RDERED this the Cf V'\day ofAugust, 2005.

 

ED STATES DISTRICT IUDGE

' OVED:

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Dan L. Newsom, Esq.
Senior Litigation Coun el
U.S. Attorney‘S Offlce
Westem District of Tennessee
167 North Main Street, Suite 800 ' `
Memphis, TN 38103

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